                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION

                          NO.: 5:17-CV-534-H


EPIC GAMES, INC.                    )
                                    )
     Plaintiff,                     )
                                    )
                                    )
     v.                             )
                                    )                 ORDER
                                    )
C.R.,                               )
                                    )
    Defendant.                      )
                                    )



     This matter is before the court on plaintiff’s motion for

entry of default in this matter.           Defendant has not filed a

response to the motion for default.        Plaintiff filed a complaint

in this matter on October 23, 2017.          On October 27, 2017, the

clerk’s office issued a summons to defendant C.R.              It appears

that at the time of filing of the complaint and issuance of the

summons, plaintiff was unaware defendant C.R. was a minor.             On

November 15, 2017, the court received a letter from Lauren A.

Rogers on behalf of her minor son, C.R., in which she asks the

court to dismiss the complaint against C.R.

     Upon realizing that defendant C.R. was a minor, plaintiff

sought an amended summons to effect proper service.           As detailed




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in its motion for entry of default and declaration of service,

plaintiff     appears   to     have   now      effectuated     proper    service.

Plaintiff now seeks the court to enter default for failure of

defendant to answer or otherwise respond.

     While it is true that defendant has not responded since proper

service was effectuated, the letter from defendant’s mother [DE

#6] detailing     why   this    matter       should   be   dismissed    cannot   be

ignored.    The court hereby construes the letter [DE #6] as a motion

to dismiss.    Plaintiff is granted 21 days to respond to the motion

to dismiss, and then defendant shall have 21 days to reply.                Having

determined that defendant has responded, defendant’s motion for

entry of default is DENIED WITHOUT PREJUDICE.

     In an abundance of caution, the clerk is directed to serve a

copy of this order on defendant, through his mother, at both the

following addresses:         C.R., c/o Lauren Rogers, 5 Vireo Circle,

Newark, DE 19711 and C.R., c/o Lauren Rogers, 501 West Ave., New

Castle, DE 19720.

     Plaintiff is hereby directed to file a redacted version of

the complaint [DE #1] and the Copyright Report [DE #4] in this

matter. See Fed. R. Civ. P. 5.2.             The clerk is directed to redact

the letter [DE #6].     Due to defendant being a minor, the following

documents shall be permanently sealed in accordance with Rule 5.2

of the Federal Rules of Civil Procedure:              the unredacted complaint

                                         2

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[DE #1], the unredacted Copyright Report [DE #4], the summons

issued as to C.R. [DE #5], and the unredacted Letter from Lauren

Rogers which is now being construed as a motion to dismiss [DE

#6].

            3rd day of April 2018.
       This ____



                             __________________________________
                             Malcolm J. Howard
                             Senior United States District Judge

At Greenville, NC
#26




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